             Case 3:18-md-02843-VC Document 147-1 Filed 09/21/18 Page 1 of 2



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     Plaintiffs’ Co-Lead Counsel
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12                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
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14   IN RE: FACEBOOK, INC., CONSUMER PRIVACY MDL No. 2843
     USER PROFILE LITIGATION
15                                           Case No. 18-md-02843-VC
                                                         DECLARATION OF LESLEY E.
16   THIS DOCUMENT RELATES TO:
                                                         WEAVER IN SUPPORT OF
     ALL ACTIONS
17                                                       ADMINISTRATIVE MOTION TO
                                                         CONSIDER WHETHER CASES
18                                                       SHOULD BE RELATED

19                                                       Judge: Hon. Vince Chhabria

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      CASE NO. 3:18-MD-02843-VC     DECLARATION OF LESLEY E. WEAVER IN SUPPORT OF ADMINISTRATIVE
30                                         MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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             Case 3:18-md-02843-VC Document 147-1 Filed 09/21/18 Page 2 of 2



 1   I, Lesley E. Weaver, declare and state as follows:

 2          1.      I am an attorney licensed in the State of California and admitted to the United States
 3   District Court for the Northern District of California. I am a partner at Bleichmar Fonti & Auld LLP,
 4   Co-Lead Counsel for Plaintiffs in In re Facebook, Inc. Consumer Privacy User Profile Litigation, Case
 5   No. 18-md-02843-VC. I have personal knowledge of the facts set forth herein and, if called as a
 6   witness, could and would testify competently to them.
 7          2.      This declaration is made in support of Co-Lead Counsel’s Administrative Motion to
 8   Consider Whether Cases Should Be Related.
 9          3.      A true and correct copy of the complaint in the matter McDonnell, et al. v. Facebook,
10   Inc., No. 3:18-cv-05811 (N.D. Cal.) filed on September 21, 2018 is attached hereto as Exhibit 1.
11          4.      A true and correct copy of the complaint in the matter Schinder v Facebook, Inc., Case
12   No. 3:18-cv-02571 (N.D. Cal.) filed on May 1, 2018 is attached hereto as Exhibit 2.
13          I declare under penalty of perjury under the laws of the United States and the State of
14   California that the foregoing is true and correct and to the best of my knowledge. This declaration was
15   executed in Oakland, California.
16

17    DATED: September 21, 2018
                                                                      /s/ Lesley E. Weaver
18                                                                      Lesley E. Weaver

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      CASE NO. 3:18-MD-02843-VC     DECLARATION OF LESLEY E. WEAVER IN SUPPORT OF ADMINISTRATIVE
30                                         MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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